     Case 1-17-42418-nhl       Doc 141     Filed 07/20/18        Entered 07/20/18 13:59:11




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                                                        July 20, 2018

To,
Honorable Nancy H. Lord
United States Bankruptcy Court
Eastern District of New York
271 Cadman Plaza East
Brooklyn, New York
                                     Re: 17-42418 (NHL) Marlene Marshalleck
Dear Judge Lord:
               I am the counsel for the debtor, Ms. Marlene Marshalleck. As per the instruction
of this Court, I am attaching, as forwarded to me, a summary of the work done by Mr. Edward
King, the proposed counsel for the state court proceeding commenced by the debtor. Thank you
for your consideration.

                                            Yours sincerely,



                                                        /s/___________________
                                                          Karamvir Dahiya
